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                                                                                                      Esra A. Hudson
                                                                                         Manatt, Phelps & Phillips, LLP
                                                                                            Direct Dial: 310-312-4381
                                                                                                ehudson@manatt.com

June 9, 2025

VIA ECF
The Honorable Lewis J. Liman
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Room 1620
New York, NY 10007

Re:     Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL [rel. No. 1:25-cv-00449]

Dear Judge Liman:

        Ms. Lively respectfully submits this letter in opposition to Jed Wallace and Street Relations’ (the
“Wallace Parties”) letter-motion to stay discovery. Dkt. No. 287. The Wallace Parties have failed to
establish good cause under Fed. R. Civ. P. 16(b) and 26(c). In an effort to meet that burden, the Wallace
Parties inflate the probability of success on their Motion to Dismiss, dramatically downplay their role in
the “social manipulation” campaign at the center of this litigation, and ignore that their own lawsuit
against Ms. Lively in Texas (the “Texas Action,”) puts the truth of her allegations against them directly
at issue—accusing Ms. Lively of defamation based on statements made in her complaint before the
California Civil Rights Department (“CRD Complaint”), and thereby implicating facts identical to those
in question here and which will inevitably be subject to discovery, whether in this venue or another.

        The Wallace Parties’ portrayal of themselves as peripheral figures in this action—just a small
business and its owner from rural Texas—directly contradicts Ms. Lively’s Amended Complaint
(“FAC”) and contemporaneous documents. As alleged in the FAC, in August 2024, after Ms. Lively and
others raised concerns about sexual harassment and other misconduct on the set of It Ends With Us, the
Wayfarer Parties 1 retained the Wallace Parties to design and implement a “social manipulation”
campaign to destroy Ms. Lively’s reputation, to discredit her in the event she spoke out about her
experiences on set, and to conceal their misconduct. See Dkt. No. 84 ¶¶ 24–45. As alleged, the Wallace
Parties were not minor players in this scheme, and they did not act on the sidelines. Instead, they
coordinated directly with the Wayfarer Parties to conduct what was internally described as a “social
combat plan” and to deploy a digital army to flood social media with targeted messaging designed to
“bury” Ms. Lively and promote Baldoni. See id. ¶¶ 34–45, 194–97, 215–60.

         Evidence already obtained through the limited discovery produced thus far suggests that the
Wallace Parties knew that Ms. Lively had raised concerns about sexual harassment and other misconduct
on set, see Exhibit A, and, as of August 9, 2024, described themselves as actively working on the project,
with Mr. Wallace expressing his excitement about making significant progress, see Exhibit B. As a
result of that work, in internal communications, the Wayfarer Parties credited the Wallace Parties with
causing a “shift on social” by “shift[ing] the narrative towards shining a spotlight on [Ms. Lively].” Id.
¶ 245-52. Indeed, the Wallace Defendants’ efforts were so successful that Nathan commented that the
“majority of socials are so pro Justin and I don’t even agree with half of them [sic] lol.” Id. ¶ 247. In

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  The “Wayfarer Parties” is defined herein to include Defendants Wayfarer Studios LLC “Wayfarer,” Justin Baldoni, Jamey
Heath, Steve Sarowitz, It Ends With Us Movie LLC, Jennifer Abel, Melissa Nathan, and The Agency Group PR LLC
(“TAG”).
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other words, the Wallace Parties were not peripheral at all—but rather were architects and executers of
the retaliation campaign at the heart of this dispute. That Ms. Lively asserts only two causes of action
against them or that the Wallace Parties themselves assert no affirmative claims in this action is of no
moment. They are central figures in this case, and discovery must move forward as to each of them.
Indeed, staying discovery would only delay uncovering the full extent of the Wallace Parties’
involvement and the retaliation campaign.

        The Motion to Dismiss Does Not Raise Substantial Grounds for Dismissal. Courts in this
District routinely deny discovery stays where a motion to dismiss is pending. “A motion to dismiss does
not automatically stay discovery,” and “discovery should not be routinely stayed simply on the basis that
a motion to dismiss has been filed.” Hong Leong Fin. Ltd. (Sing.) v. Pinnacle Performance Ltd., 297
F.R.D. 69, 72 (S.D.N.Y. 2013) (citation omitted). That is especially true where, as here, the motion raises
fact-bound personal jurisdiction and venue disputes—not a facial legal deficiency. The Wallace Parties
do not challenge the legal sufficiency of the conspiracy allegations or the New York contacts of their co-
conspirators; they argue only that Wallace was not involved. See Dkt. No. 142, at 11-12. But a defendant
cannot defeat personal jurisdiction merely by asserting that they were not involved in a conspiracy
(contrary to the complaint’s well-pled allegations). Mr. Wallace’s self-serving declaration does not
warrant dismissal or a stay. See Dorchester Fin. Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 86 (2d Cir.
2013); Alwand Vahan Jewelry, Ltd. v. Lustour, Inc., 2021 WL 3604517, at *4 (S.D.N.Y. Aug. 13, 2021).
As set forth in Ms. Lively’s opposition, the Wallace Parties’ motion to dismiss will fail. See Dkt. 161.

        In fact, even in cases where “strong arguments exist on both sides,” courts in this District
routinely deny requests to stay discovery. Guiffre v. Maxwell, 2016 WL 254932, at *2 (S.D.N.Y. Jan.
20, 2016); see also P.C. v. Driscoll, 2024 WL 3606511, at *1 (S.D.N.Y. July 30, 2024) (Liman, J.);
Robbins v. Candy Digital Inc., 2024 WL 2221362, at *1 (S.D.N.Y. May 15, 2024) (Liman, J.). That
principle applies with even greater force here, where the dismissal arguments are weak. The presumption
in this District is that discovery proceeds despite a pending motion to dismiss, and the Wallace Parties
have failed to overcome that presumption. See Driscoll, 2024 WL 3606511, at *1; Robbins, 2024 WL
2221362, at *1.

        The Wallace Parties’ Burden Arguments Are Overstated and Misplaced. The Wallace
Parties’ burden arguments similarly fail. First, as detailed above, the Wallace Parties are not “ancillary”
to this dispute. They are at the heart of it. This is further evidenced by the requests that Ms. Lively has
propounded to them, seeking, for example, information and materials regarding (a) the Wallace Parties’
business and capability; (b) the Wallace Parties’ knowledge of on-set behavior and complaints about the
same; (c) the intricacies of the “untraceable” retaliation campaign, including what it entailed, how it was
implemented (including regarding through what digital channels), who the Wallace Parties worked with,
and how it was financed, among other things); and (d) the veracity of Mr. Wallace’s representations in
the declaration he submitted in support of his Motion to Dismiss. This discovery against the Wallace
Parties is inevitable. Their conduct—designing and executing an untraceable digital campaign against
Ms. Lively—is central to the case and will be a key focus of discovery. This information is
unquestionably essential to the action, and, as such, any nominal burden imposed on the Wallace Parties
by having to respond to discovery and to sit for depositions is outweighed by the potential prejudice in
depriving Ms. Lively of this information. If the Court grants the Wallace Parties’ motion to dismiss, Ms.
Lively will simply serve them with subpoenas for the same documents and testimony. Staying discovery
now would delay the inevitable, impede the “just” and “speedy” imperatives set forth in Fed. R. Civ. P.
1, and potentially deny Ms. Lively timely access to information she needs to pursue appropriate
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discovery from additional sources known to the Wallace Parties. Cambridge Cap. LLC v. Ruby Has LLC,
2021 WL 2413320, at *3 (S.D.N.Y. June 10, 2021) (Liman, J.); Idle Media, Inc. v. Create Music Grp.,
Inc., 2024 WL 2946248, at *2 (S.D.N.Y. June 11, 2024); Hollins v. U.S. Tennis Ass’n, 469 F. Supp. 2d
67, 79 (E.D.N.Y. 2006).

        Second, thanks to the Wallace Parties’ own actions, discovery against the Wallace Parties will
proceed regardless of venue. In their Texas Action, the Wallace Parties assert the same defamation
allegations against Ms. Lively as the Wayfarer Parties did here—claiming, for example, that Ms. Lively
defamed the Wallace Parties by identifying them in her CRD Complaint and, allegedly, falsely accusing
them of engaging in the retaliation campaign. By asserting those claims, the Wallace Parties have placed
the truth of Ms. Lively’s allegations directly at issue. In other words, the Wallace Parties’ own position
is that discovery should proceed on the very same facts and circumstances subject to discovery in this
action. A stay would not advance the ends of justice where, as here, any discovery produced could be
used in other proceedings if the case were dismissed. See Friedman as Tr. of Ellett Bros., LLC v. Nexien,
Inc., 2021 WL 5910763, at *7 (E.D.N.Y. Nov. 9, 2021).

        Third, a stay is not the appropriate mechanism to address concerns about either the breadth of
discovery requests or confidentiality concerns. As to the former, if the Wallace Parties believe that
certain discovery requests or deposition topics are overbroad, their remedy is a motion for a protective
order—not a blanket stay. See Dkt. No. 156 (Memo Endorsement); Cambridge Cap., 2021 WL 2413320,
at *3. And the Wallace Parties’ purported confidentiality concerns can be addressed by the protective
order already in place. Put simply, the Wallace Parties cannot pick and choose which discovery they will
engage in and then run to the Court claiming undue burden. See Hicksville Water Dist. v. Jerry Spiegel
Assocs., Inc., 2022 WL 4072683, at *4 (E.D.N.Y. Sept. 2, 2022).

        Fourth, the Wallace Parties’ complaint that “dozens of depositions” would be unduly
burdensome mischaracterizes the effect of the stay. Of course, a stay of discovery is not tantamount to a
dismissal. Even if the Court does impose a stay (which it should not), the Wallace Parties will still be
defendants to this action and, thus, not relieved of the need to attend or participate in depositions (though,
of course, they may choose to do so). In any event, Ms. Lively has already proposed remote appearances
to limit any burden to the Wallace Parties implicated by out-of-state depositions.

        Ms. Lively Will Be Prejudiced by a Stay. Perhaps most importantly, Ms. Lively will be
irreparably prejudiced in her ability to mount her case and defend the claims against her if a stay is
imposed. The deadline for the parties to complete substantial document productions is July 1, 2025, and
fact discovery closes on August 14, 2025. See Dkt. No. 58. Staying discovery against the Wallace Parties
now would also impair Ms. Lively’s ability to meet the Court’s deadlines. The prejudice is especially
acute here because Wallace’s conduct may unlock a new frontier of discovery into the retaliatory digital
media campaign. As detailed above and in Ms. Lively’s Amended Complaint, internal communications
show that the Wallace Parties’ work caused a “visible shift” on social media against Ms. Lively and
caused millions of viewers to unknowingly consume manipulated content generated by the Wallace
Parties’ digital team. Only the Wallace Parties can speak to the methods they and their team used and
the extent of the manipulation. Staying discovery now would unfairly compromise Ms. Lively’s ability
to both prosecute her affirmative claims and defend herself against the defamation claims.

        For the foregoing reasons, Ms. Lively respectfully requests that the Court deny the Wallace
Parties’ motion for a stay.
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                                             Respectfully submitted,

                                             /s/ Esra A. Hudson
 WILLKIE FARR & GALLAGHER LLP
 Michael J. Gottlieb                         MANATT, PHELPS & PHILLIPS, LLP
 Kristin E. Bender                           Esra A. Hudson (admitted pro hac vice)
 Meryl Governski (admitted pro hac vice)     Stephanie A. Roeser (admitted pro hac vice)
 1875 K Street NW                            2049 Century Park East, Suite 1700
 Washington, DC 20006                        Los Angeles, CA 90067
 (202) 303-1000                              (310) 312-4000
 mgottlieb@willkie.com                       ehudson@manatt.com
 kbender@willkie.com                         sroeser@manatt.com
 mgovernski@willkie.com
                                             Matthew F. Bruno
 Aaron E. Nathan                             7 Times Sq.
 787 7th Avenue                              New York, NY 10036
 New York, NY 10019                          (212) 790-4500
 (212) 728-8000                              mbruno@manatt.com
 anathan@willkie.com
                                             Attorneys for Blake Lively
